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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

 PENGUIN RANDOM HOUSE LLC, et al.,

         Plaintiffs,
 v.                                                Case No. 6:24-cv-01573-CEM-RMN

 BEN GIBSON, in his official capacity
 as Chair of the Florida State Board
 of Education, et al.,

       Defendants.
 ___________________________

                           INDEX OF EXHIBITS TO
               PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

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      Exhibit A        Declaration of Skip Dye
                       C.A. Bridges, DeSantis bristles at ‘book banning hoax,’ fights
                       ‘myths’ with ‘facts.’ Which ones are myths?, The Palm Beach Post
                       (March 10, 2023),
      Exhibit A-1
                       https://www.palmbeachpost.com/story/news/education/202
                       3/03/10/desantis-fights-book-banning-backlash-
                       florida/69990134007/
                       Governor Ron DeSantis Debunks Book Ban Hoax (March 8, 2023),
      Exhibit A-2      https://www.flgov.com/eog/news/press/2023/governor-ron-
                       desantis-debunks-book-ban-hoax
                       Douglas Soule, Ana Goñi-Lessan, and Jeanine Santucci, To be
                       or not to be on the shelf? New Florida school book law could restrict
      Exhibit A-3      even Shakespeare, USA Today (July 15, 2023),
                       https://www.usatoday.com/story/news/nation/2023/07/15/
                       law-limits-florida-school-books/70414412007/
                       Leslie Postal, Orange schools target classics, popular novels to keep
                       sex out of class, Orlando Sentinel (July 3, 2023),
      Exhibit A-4
                       https://www.orlandosentinel.com/2023/07/03/orange-
                       schools-target-classics-popular-novels-to-keep-sex-out-of-class/.
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                  Pinellas County Schools’ School and Classroom Library Media
    Exhibit A-5
                  Student Access Form (2-3186)
    Exhibit A-6   Polk County Public Schools’ News Release
                  May 24, 2024 Florida Department of Education Library
    Exhibit A-7   Media and Instructional Materials Training, effective July
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     Exhibit B    Declaration of David Karp
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    Exhibit B-3   Brevard.xlsx
    Exhibit B-4   Broward.xlsx
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    Exhibit B-9   Flagler.xlsx
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   Exhibit B-21   Nassau.xlsx
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   Exhibit B-24   Pasco.xlsx
   Exhibit B-25   Pinellas.xlsx
   Exhibit B-26   Polk.xlsx
   Exhibit B-27   Santa Rosa.xlsx
   Exhibit B-28   Sarasota.xlsx
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    Exhibit M     Declaration of J.H.
                  Specific Material Objection Template incorporated in Rule 6A-
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